        Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 1 of 21



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


JOHN C. EASTMAN,                                  Civil Action No.: ___________
c/o Burnham & Gorokhov, PLLC
1424 K Street NW, Suite 500
Washington, D.C. 20005
                        Plaintiff,
                v.

BENNIE G. THOMPSON, in his official
capacity as Chairman of the House Select
Committee to Investigate the January 6
Attack on the United States Capitol;
Rayburn House Office Building, 2466,
Washington, DC 20515
JOHN WOOD, in his official capacity as
Investigative Counsel for the Minority
Members of the House Select Committee to
Investigate the January 6 Attack on the
United States Capitol;
1540A Longworth House Office Building
Washington, D.C. 20515
TIMOTHY J. HEAPHY, in his official
capacity as Chief Investigative Counsel for
the House Select Committee to Investigate
the January 6 Attack on the United States
Capitol;
1540A Longworth House Office Building
Washington, D.C. 20515

SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6TH ATTACK ON THE
UNITED STATES CAPITOL
VERIZON COMMUNICATIONS, INC.; 1095
Avenue of the Americas, New York, NY 10036
                      Defendants.


                       COMPLAINT FOR DECLARATORY AND
                             INJUNCTIVE RELIEF

     Plaintiff brings this action against Defendants for declaratory and injunctive relief and


                                              1
            Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 2 of 21



alleges as follows:

                                         INTRODUCTION

       1.      The November 3, 2021 presidential election was one of the most controversial in

American history. A significant portion of the population came to believe the election was tainted

by fraud, disregard of state election law, misconduct by election officials and other factors.

       2.      On January 6, 2021, approximately ½ million people gathered for a “Save America”

rally outside the White House to exercise their First Amendment freedoms of speech and assembly

and the right to petition their government for redress of grievances.

       3.      Unfortunately, two miles away at the United States Capitol, several hundred

protestors entered the Capitol building. Some of the individuals who entered the Capitol committed

criminal acts, including assault and property damage.

       4.      The House adopted House Resolution 503 on June 30, 2021, creating the Select

Committee to Investigate the January 6 Attack on the United States Capitol (“J6 Committee”). Ex.

A. Resolution 503 required the Speaker to nominate 5 of 13 members “after consultation with the

minority leader.” The Speaker did not engage in meaningful consultation with the minority leader.

The J6 Committee consists of seven members of the Speaker’s political party and two from the

minority party. It does not have a “ranking minority member.” The two minority members are well

known to be aligned with the majority party on issues relevant to the J6 Committee’s work. The

Speaker herself admitted that such a highly partisan congressional committee was “unprecedented.”

       5.      Plaintiff Dr. John Eastman is a law professor and practicing attorney. He is a political

conservative who supported former President Trump, which puts him at odds with the Committee’s

highly partisan membership. Dr. Eastman is not alleged to have entered the Capitol on Jan. 6.

       6.      Without prior notice to Dr. Eastman, the J6 Committee issued a subpoena to Verizon

requesting records for Dr. Eastman’s personal cell phone. The subpoena seeks nine categories of

information on Dr. Eastman’s personal cell phone use over a three-month period. The subpoena
                                              2
             Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 3 of 21



does not contain any provision for protection of attorney client privilege.

       7.       The J6 Committee’s subpoena to Verizon is invalid for several reasons. First, public

statements by J6 Committee members make clear that the Committee is attempting to exercise a

law enforcement function, rather than genuine legislative activity. The United States Congress has

no power to issue subpoenas for law enforcement purposes.

       8.       Second, the subpoena was issued in violation of House Rules and the J6 Committee’s

own authorizing resolution. As explained below, the Committee’s lack of validly appointed

minority members or a validly appointed “ranking minority member” makes such compliance

impossible. A subpoena issued in violation of applicable House Rules is invalid.

       9.       Third, the subpoena violates the Fourth Amendment. Dr. Eastman has a reasonable

expectation of privacy in the private cellphone information which the Committee now seeks to

access without a search warrant.

       10.      Fourth, the subpoena violates the First Amendment. The subpoena seeks detailed

information on Dr. Eastman’s protected First Amendment activity. Allowing a highly partisan

congressional committee to invade the First Amendment activity of a political opponent would have

a chilling effect on free speech.

       11.      Finally, the subpoena infringes attorney client privilege. In addition to his academic

work, Dr. Eastman is engaged in the practice of law representing clients. The subpoena makes no

provision for protecting attorney client privileged information.

                                              PARTIES

       12.      Plaintiff JOHN C. EASTMAN (“Dr. Eastman”) is a law professor and attorney.

       13.      Defendant BENNIE G. THOMPSON (“Chairman Thompson”) is the U.S.

Representative for Mississippi’s 2nd District and the Chairman of the House Select Committee to

Investigate the January 6 Attack on the United States Capitol. He is a member of the Democrat


                                                  3
              Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 4 of 21



party. Chairman Thompson signed the subpoena in question and is sued in his official capacity.

        14.      Defendant TIMOTHY J. HEAPHY (“Heaphy”) is the Chief Investigative Counsel

for the House Select Committee to Investigate the January 6 Attack on the United States Capitol.

On information and belief, he drafted and served the subpoena in question and is sued in his official

capacity.

        15.      Defendant JOHN WOOD (“Wood”) is the Chief Counsel to the Minority Members

of the House Select Committee to Investigate the January 6 Attack on the United States Capitol.

Upon information and belief, he participated in the drafting and service of the subpoena in question

and is sued in his official capacity.

        16.      Defendant Verizon, Inc. (“Verizon”) is a corporation headquartered in New York

City and incorporated in Delaware. Verizon is listed as a Defendant to ensure that Plaintiff can

obtain effective relief. It is susceptible to the jurisdiction of this Court because it conducts

substantial business in this district.

        17.      Defendant Select Committee to Investigate the January 6th Attack on the

United States Capitol is a select committee created by House Resolution 503 passed by the U.S.

House of Representatives on June 30, 2021.

                                    JURISDICTION AND VENUE

        18.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this case

arises under the Constitution and laws of the United States, including U.S. Const. amends. I, IV; 18

U.S.C. §§ 1039, 2702, 2707; 28 U.S.C. §§ 1367, 2201, 2202; 47 U.S.C. § 222.

        19.      Venue is proper because Chairman Thompson officially resides in the District. 28

U.S.C. § 1391.

                                           BACKGROUND

    I. Challenges to Congressional Subpoenas

        20.      Not infrequently, federal courts adjudicate the legality of congressional subpoenas.
                                                   4
             Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 5 of 21



       21.      When Congress “seeks information directly from a party,” that party “can resist and

thereby test the subpoena.” Eastland v. U.S. Servicemen's Fund, 421 U.S. 491, 501 n.14 (1975). But

when Congress “seeks that same information from a third person,” that option is not available to the

party; the third party might not have an interest in protecting the information or resisting the

subpoena, and its “compliance” with the subpoena “could frustrate any judicial inquiry.” Id. For

that reason, the law allows the person whose information will be exposed to sue in federal court for

an “injunction or declaratory judgment” to block the subpoena’s “issuance, service on, or

enforcement against” the “third party.” U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1259

(D.C. Cir. 1973), subsequent merits decision rev’d on other grounds, 421 U.S. 491.

       22.      The key questions in such cases are “whether a legitimate legislative purpose is

present,” Eastland, 421 U.S. at 501; whether the Committee issuing the subpoena has acted in

conformity with House Rules and its authorizing resolution, Yellin v. United States, 374 U.S. 109,

114 (1963); whether the subpoena infringes on constitutional rights, Watkins v. United States, 354

U.S. 178, 188, 198; and whether it seeks privileged information, see, e.g., Congressional Research

Service No. 7-5700, Investigative Oversight: An Introduction to the Law, Practice, and Procedure

of Constitutional Inquiry, pp. 32-36 (April 7, 1995) (attorney-client privilege); Senate Select

Committee on Presidential Campaign Activities v. Nixon, 498 F.2d 725, 727, 730–731 (D.C. Cir.

1974) (executive privilege). Congress has no “‘general’ power to inquire into private affairs and

compel disclosures,” McGrain v. Daugherty, 273 U.S. 135, 173-74 (1927), and “there is no

congressional power to expose for the sake of exposure,” Watkins, 354 U.S. at 200. “Investigations

conducted solely for the personal aggrandizement of the investigators or to ‘punish’ those

investigated are indefensible.” Id. at 187. See generally, Trump v. Mazars USA, LLP, 140 S. Ct.

2019, 2031-32 (2020).

       23.      The “legitimate legislative purpose” requirement stems directly from the


                                                 5
             Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 6 of 21



Constitution. “The powers of Congress … are dependent solely on the Constitution.” Kilbourn v.

Thompson, 103 U.S. 168, 182-89 (1880). The Constitution permits Congress to enact certain kinds

of legislation. See, e.g., Art. I, § 8. Thus, Congress’ power to investigate “is justified solely as an

adjunct to the legislative process.” Watkins, 354 U.S. at 197. “Congress is not invested with a

general power to inquire into private affairs. The subject of any inquiry always must be one on

which legislation could be had.” Eastland, 421 U.S. at 504 n.15 (cleaned up); see also Quinn v.

United States, 349 U.S. 155, 161 (1955) (“[T]he power to investigate” does not “extend to an area

in which Congress is forbidden to legislate.”).

       24.      Additionally, because Congress must have a legitimate legislative purpose, it cannot

use subpoenas to exercise “any of the powers of law enforcement.” Quinn, 349 U.S. at 161. Those

powers “are assigned under our Constitution to the Executive and the Judiciary.” Id. Put simply,

Congress is not “a law enforcement or trial agency,” and congressional investigations conducted

“for the personal aggrandizement of the investigators” or “to ‘punish’ those investigated” are

“indefensible.” Watkins, 354 U.S. at 187. Our tripartite system of separated powers requires that

“any one of the[] branches shall not be permitted to encroach upon the powers confided to the others,

but that each shall by the law of its creation be limited to the exercise of the powers appropriate to

its own department and no other.” Kilbourn, 103 U.S. at 190-91.

       25.      Moreover, when a subpoena is issued by a single committee, any legislative purpose

is not legitimate unless it falls within that committee’s jurisdiction and otherwise complies with

House Rules. “The theory of a committee inquiry is that the committee members are serving as the

representatives of the parent assembly in collecting information for a legislative purpose.” Watkins,

354 U.S. at 200. Congress therefore must “spell out that group’s jurisdiction and purpose with

sufficient particularity … in the authorizing resolution,” which “is the committee’s charter.” Id. at

201. The committee “must conform strictly to the resolution.” Exxon Corp. v. FTC, 589 F.2d 582,


                                                  6
             Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 7 of 21



592 (D.C. Cir. 1978). And when an investigation is “novel” or “expansive,” courts will construe the

committee’s jurisdiction “narrowly.” Tobin v. United States, 306 F.2d 270, 275 (D.C. Cir. 1962).

       26.      Subpoenas issued by the J6 Committee to individuals seek documents and testimony

clearly protected by attorney-client privilege, attorney work product, and other privileges, and also

seek confidential information in contravention of First and Fourth Amendment rights.

       27.      The information sought from Verizon by the J6 Committee for Dr. Eastman includes

information that, if it exists, would on its face be protected by attorney-client and/or attorney work

product privileges.

       28.      The information sought from Verizon by the J6 Committee would also intrude on

Dr. Eastman’s rights to freedom of association as protected by the First Amendment of the U.S.

Constitution. See, e.g., NAACP v. Alabama, 357 U.S. 449, 462 (1958).

       29.      The expansive scope of the information sought from Verizon is tantamount to a

“general warrant,” in violation of the Fourth Amendment.

       30.      The J6 Committee has issued preservation demands to social media companies,

requiring those companies to preserve, among other things, the “content of communications,

including all emails, voice messages, text or SMS/MMS messages, videos, photographs, direct

messages, address books, contact lists, and other files or other data communications stored in or

sent from the account[s]” of individuals “who were listed on permit applications or were otherwise

involved in organizing, funding, or speaking at” constitutionally-protected rallies held in

Washington, D.C. on January 5 and 6, 2021.”

       31.      In late November, the J6 Committee served subpoenas on telecommunications

companies, including Verizon, seeking, among other things, “All call, message (SMS & MMS),

Internet Protocol (“IP”), and data-connection detail records associated with the Phone Numbers

[listed on a separate schedule], including all phone numbers, IP addresses, or devices that


                                                  7
               Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 8 of 21



communicated with the Phone Number via delivered and undelivered inbound, outbound, and

routed calls, messages, voicemail, and data connections.” Exhibit B, Schedule ¶ 2.

         32.      The return date for production of the documents and electronic data demanded in the

Subpoena issued to Verizon was Wednesday, December 8, 2021, but on information and belief,

Verizon obtained an extension until Wednesday, December 15, 2021.

         33.      Dr. Eastman received a FedEx package from Defendant Verizon after the close of

business hours on Friday, December 3, 2021, notifying him that Verizon would comply with the

subpoena unless it received “a court document challenging the subpoena.”

   II.         The J6 Committee Is Acting Ultra Vires

               a. The J6 Committee’s Law Enforcement Purpose

         34.      Numerous statements and actions by members of the J6 Committee and others

indicate that the Committee’s overriding purpose is criminal investigation and law enforcement, not

legislative. Those statements and actions include:

   •     Chairman Thompson alleged in a lawsuit filed against former President Trump and one of

         his attorneys that Trump, the attorney, and others, in violation of the Ku Klux Klan Act of

         1871 (codified at 42 U.S.C § 1985) “conspired to prevent, by force, intimidation and threats,

         … Member[s] of Congress, from discharging [their] official duties to approve the count of

         votes cast by members of the Electoral College following the presidential election held in

         November 2020.” Complaint ¶ 3, Thompson v. Trump et al., No. 21-cv-00400 (D.D.C., filed

         Feb. 16, 2021). They did this, Thompson alleged, by encouraging an “assembly of persons”

         “denominated as the ‘Save America’ rally held at the Ellipse in Washington, D.C., on

         January 6, 2021.” Id. ¶¶ 4, 6.

   •     Representative Kinzinger, a member of the J6 Committee, stated in his opening remarks

         during the first hearing of the J6 Committee on January 27, 2021:

                  [O]ur mission is very simple: to ensure the trust and ensure accountability….
                                                    8
       Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 9 of 21



           Congress was not prepared on January 6th. We weren’t prepared because we never

           imagined this could happen: an attack by our own people, fostered and encouraged

           by those granted power through the very system they sought to overturn.”

•   On September 24, 2021, Rep. Raskin, a member of the J6 Committee, made the following

    statement during an appearance on The Dean Obeidallah Show:

           [Interviewer]: Are you surprised that all these people are charged for storming the

           capitol who were there, that Donald Trump has not been charged with anything?

           Rep. Raskin: Well of course he was charged with “incitement to violent

           insurrection” in the House and he was impeached for it … [b]ut you’re right he’s not

           been criminally charged yet for it. But we’re perfectly willing to turn over evidence

           of criminal acts to the Department of Justice.

•   Chairman Thomas and Vice-Chair Cheney have reiterated in their public statements that the

    purpose of their investigation is to ensure “those responsible are held accountable,” to “tell[]

    the complete story of the unprecedented and extraordinary events of January 6th,” and to

    “get answers for the American people about what happened on January 6th.” The Law

    Enforcement Experience on January 6th: Hearing Before the H. Select Committee to

    Investigate the January 6th Attack on the United States Capitol, 117th Cong. (2021)

    Statement of Elizabeth Cheney, Vice Chair); Press Release, Thompson & Cheney Statement

    on Pentagon Officials’ Reported Actions After January 6th (Sept. 16, 2021); Press Release,

    Thompson Statement on Cooperation of Witnesses (Oct. 14, 2021).

•   On December 13 during a J6 Committee hearing, Rep. Cheney stated that a “key question

    before this Committee” was “did Donald Trump through action or inaction corruptly seek

    to obstruct or impede Congress’ official proceedings to count electoral votes?” This

    language closely tracks the 18 U.S.C. § 1512(c), a criminal statue currently in use to


                                               9
           Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 10 of 21



        prosecute many of the persons who entered the Capitol on January 6.

        35.      Three members of the Committee, Representatives Zoe Lofgren, Jamie Raskin, and

Adam Schiff, were part of the House impeachment teams for one or the other of the two House

impeachments of former President Trump. Rep. Raskin with the impeachment manager for the

House’s second impeachment of former President Trump, and Rep. Schiff was the impeachment

manager for the first. The Senate did not convict on either impeachment.

        36.      Chairman Thompson has stated publicly that one of the J6 Committee’s purposes is

to “determine guilt or innocence”—functions that belong to the Executive and Judicial branches of

government, not the Legislative branch.

        37.      Because Chairman Thompson’s subpoena to Verizon threatens to expose Plaintiff’s

confidential information and lacks “a legitimate legislative purpose,” this Court has the power to

declare it invalid and to enjoin its enforcement. Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491,

501 n.14 (1975) (“On this record, the Court of Appeals correctly held that the District Court properly

entertained this action initially.”). Plaintiff is entitled to that relief.

              b. The J6 Committee’s Violation of House Rules and its Own Authorizing
                 Resolution

                     i. The J6 Committee’s Violation of House Rules and Authorizing
                        Resolution Provisions on Minority Membership

        38.      H.Res. 503 specifically requires that “5 [of the 13 members] must be appointed after

consultation with the minority leader.” Ex. A, p. 3.

        39.      On July 19, 2021, Minority Leader Kevin McCarthy recommended Representatives

Jim Banks, Jim Jordan, Rodney Davis, Kelly Armstrong, and Troy Nehls to serve as the Republican

members of the J6 Committee.

        40.      Speaker of the House of Representatives Nancy Pelosi refused to accept two of

Minority Leader McCarthy’s appointments, Jim Banks and Jim Jordan.

        41.      Speaker Pelosi acknowledged that her refusal to seat the Republican members
                                               10
             Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 11 of 21



recommended by the Minority Leader was “unprecedented.”

           42.   Minority Leader McCarthy thereafter declined to appoint any Republican members

to the J6 Committee.

           43.   Speaker Pelosi instead appointed Republican Representatives Liz Cheney and Adam

Kinzinger, who, unlike most of the Republican caucus, are publicly aligned with the majority party

on all issues relevant to the Select Committee.

           44.   House GOP Rule 14(a)(1) provides that the Republican Steering Committee

nominates ranking minority members to committees of the House, who are then voted on by the full

Republican House Conference.

           45.   Neither Representative Cheney nor Representative Kinzinger were nominated by the

Republican Steering Committee, nor voted upon by the Republican House Conference, to serve as

ranking minority member on the J6 Committee.

           46.   There is no ranking minority member on the J6 Committee.

           47.   House Rules require that “Consultation with the ranking minority member shall

include three days’ notice before any deposition is taken.” House Committee on Rules, “Regulations

for the Use of Deposition Authority,” ¶ 2.

           48.   House Rules require that “When depositions are conducted by committee counsel,

there shall be no more than two committee counsel permitted to question a witness per round,” one

of whom “shall be designated by the chair and the other by the ranking minority member per round.”

Id. ¶ 5.

           49.   House Rules mandate that rounds of questioning during a deposition “shall provide

equal time to the majority and minority.” Id. ¶ 6.

           50.   Without a ranking minority member, there is no one serving on the committee with

whom to consult, id. ¶ 2, or to designate counsel for the minority to question witnesses id. ¶ 5, or to


                                                     11
             Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 12 of 21



whom equal time must be given. Id. ¶ 6.

       51.      House Rules afford to witnesses called before committees the right to make a request

“to subpoena other witnesses.” House Rule XI.2(k)(5)

       52.      Without a ranking member to appoint counsel to participate in the questioning of

such witnesses, there is no one to perform the adversarial questioning role.

       53.      House Rules grant to minority members the ability to call witnesses. House Rule

XI.2(j)(1).

       54.      There are no members of the J6 committee appointed after consultation with the

Minority Leader, and therefore no members to exercise the authority for the minority to call

witnesses.

       55.      Speaker Pelosi ultimately appointed only 9 members of the Committee, contrary to

the authorizing resolution, which provides that the Speaker “shall” appoint 13 members to the

Committee.

       56.      The J6 Committee is constituted in violation of House Rules.

       57.      The J6 Committee is exercising deposition and subpoena authority in violation of

House Rules.

                   ii. The J6 Committee has Exceeded the Scope of the Authorizing Resolution

       58.       The J6 Committee’s authorizing resolution sets forth 3 “purposes” and 3 “functions

of the Committee. Ex. A.

       59.      Each of the “purposes” and “functions” described in the authorizing resolution

focuses on a specific event – the entry of large numbers of unauthorized persons into the Capitol

building on January 6, 2021. Congress has not given the Committee a roving commission to

investigate any aspect of the 2020 election it finds troubling.

       60.      The J6 Committee has exceeded its authorizing resolution in seeking three months


                                                  12
            Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 13 of 21



of detailed cellphone information from Dr. Eastman, who is not alleged to have entered the Capitol

on Jan 6 or to be connected with those who did enter in some substantial way.



   III.         Chairman Thompson’s Subpoena to Verizon

          61.      The expansiveness of the subpoena issued by Chairman Thompson to Verizon

confirms that the J6 Committee’s purpose is law enforcement, not legislative.

          62.      Without any evidence that Dr. Eastman had communications with anyone who

trespassed on Capitol grounds on January 6, 2021, Chairman Thompson demands in his subpoena

all communications data for Dr. Eastman’s phone records, text messages, contact lists, etc. for the

period of November 1, 2020 to January 31, 2021.

          63.      Chairman Thompson is well aware that Dr. Eastman, in addition to his academic

work, is a practicing attorney. However, the subpoena does not exempt from disclosure

communications protected by attorney-client privilege or the attorney work product doctrine.

          64.      Chairman Thompson did not consult with the ranking minority member of the

committee before sending the subpoenas, because there is no ranking minority member of the

committee.

          65.      The subpoena demands, among other things, call and text message logs. As Congress

noted in its “findings” section of the Telephone Records and Privacy Protection Act of 2006, “call

logs may reveal the names of telephone users’ doctors, public and private relationships, business

associates, and more” and “the unauthorized disclosure of telephone records … assaults individual

privacy ….” For that reason, disclosure of such information “without prior authorization from the

customer to whom such confidential phone records information relates” is expressly prohibited

“except as otherwise permitted by applicable law. 18 U.S.C. § 1039(b), (c); see also 47 U.S.C. §

222(c)(1) (restricting disclosure of customer proprietary information “except as required by law or


                                                   13
          Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 14 of 21



with the approval of the customer”). Exceptions specified in section 222(d) of the Communications

Act of 1934 shall apply, but those exceptions, such as disclosure to law enforcement and emergency

service providers “in order to respond to the user’s call for emergency services,” 47 U.S.C. §

222(d)(4)(A), are not relevant to the subpoenas at issue here.

       66.     The subpoenas demand “data-connection detail” records and “call…records.” That

ambiguous wording could be interpreted to include cell site location information, which law

enforcement officers must get a warrant to obtain under the Supreme Court’s 2018 decision in

Carpenter v. United States, 138 S. Ct. 2206 (2018). Whether or not Verizon chooses to interpret it

as such, the J6 Committee could advance such an interpretation in any effort to enforce the subpoena

if it deems Verizon’s response insufficient.

       67.     With law enforcement and other exceptions not relevant here, Section 2702(a)(1)-

(2) of the Stored Communications Act prohibits entities providing electronic communications and

remote computing services, such as Verizon, from knowingly divulging the “contents” of any

communications while in electronic storage by the entity. 18 U.S.C. § 2702(a)(1)-(2). Section

2702(a)(3) prohibits such entities from knowingly divulging “a record or other information

pertaining to a subscriber to or customer of such service (not including the contents of

communications covered by paragraph (1) or (2)) to any governmental entity.” Id. § 2702(a)(3).

       68.     Neither the individual defendants, nor the J6 Committee, nor Congress itself, is a

“government entity” entitled to require disclosure pursuant to 18 U.S.C. § 2703, as “government

entity” is defined in 18 U.S.C. § 2711 to mean “a department or agency of the United States or any

State or political subdivision thereof.”

       69.     Even were the individual defendants to qualify as a “government entity” entitled to

require disclosure pursuant to 18 U.S.C. § 2703, on information and belief, they did not obtain a

warrant prior to the issuance of the subpoenas (or at any time since), as required by 18 U.S.C. §§


                                                 14
            Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 15 of 21



2703(a), (b)(1)(A), and (c)(1)(A). Nor did they obtain consent from the subscribers whose records

are sought by the subpoena, § 2703(c)(1)(C), or provide prior notice to the subscribers, as

alternatively required by Section 2703(b)(1)(B). On information and belief, neither did they obtain

a court order or written certification of a supervisory official that the subpoenas qualify for delayed

notification under 18 U.S.C. § 2705.

       70.       Dr. Eastman brings this suit to challenge the validity and enforceability of Chairman

Thompson’s subpoena. Now that the subpoena has issued, Verizon faces an unfair choice: ignore

the subpoena and risk contempt of Congress, or comply with the subpoena and risk liability if the

subpoenas are invalid or unenforceable. To resolve these conflicting commands, the D.C. Circuit

has held—in a procedurally identical case—that the district court should issue “a stay in the

enforcement of the [congressional] subpoena[]” “until [it] has an opportunity fully to consider”

these ‘serious constitutional questions’ on the merits so that ‘compliance by [the recipient of the

subpoena] does not frustrate … judicial inquiry.’” Eastland, 488 F.2d at 1256-57. Eastland is

controlling. The decision squarely holds that interim relief is warranted under precisely these factual

circumstances.

       71.       The D.C. Circuit has also held that the recipient of a subpoena should not be

subjected to conflicting commands while the legitimacy of the subpoena is being litigated. See

United States v. Deloitte LLP, 610 F.3d 129, 142 (D.C. Cir. 2010).

       72.       Congress thus cannot take any action against Verizon until this litigation is finally

resolved.

                                            COUNT I
                    The J6 Committee’s Exercise of Subpoena Power is Ultra Vires

       73.       Plaintiff restates the foregoing paragraphs as if set forth fully herein.

       74.       The J6 Committee is unconstitutionally pursuing law enforcement rather than

legislative ends.

                                                     15
          Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 16 of 21



       75.       Congress’s investigative powers are ancillary to its legislative authority, and are

limited to that extent. Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020).

       76.       The J6 Committee is not constituted in accord with House Rules and H.Res. 305.

       77.       The J6 Committee has exceeded its authorizing resolution by seeking information

on Dr. Eastman that does not have a reasonable relation to the Committee’s functions and purposes.

       78.       Congress’ failure to act in accordance with its own rules is judicially cognizable.

Yellin v. United States, 374 U.S. 109, 114 (1963).

       79.       The subpoena issued to Verizon seeking to obtain personal telecommunications

records is invalid and unenforceable, and should be quashed.

                                         COUNT II
              Intrusion on Attorney-Client Privilege and Attorney Work Product

       80.       Dr. Eastman restates the foregoing paragraphs as if set forth fully herein.

       81.       Dr. Eastman is an attorney and communicates with clients in part by telephone and

text messages.

       82.       The subpoena issued by Chairman Thompson Verizon would require Verizon to

disclose information protected by the attorney-client privilege and attorney work product doctrines.

       83.       Section 2517 of Title 18 provides that “No otherwise privileged wire, oral, or

electronic communication intercepted in accordance with, or in violation of, the provisions of this

chapter shall lose its privileged character.” 18 U.S.C. § 2517(4).

       84.       The subpoena is therefore unenforceable to the extent it seeks privileged material,

and should be quashed.

                                             COUNT III
                                    Violation of First Amendment

       85.       Dr. Eastman restates the foregoing paragraphs as if set forth fully herein.

       86.       The subpoena issued by Chairman Thompson to Verizon seeks call logs and text

                                                   16
           Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 17 of 21



message logs the disclosure of which would infringe on the First Amendment speech, association,

assembly and petition rights not only of Plaintiff but of those with whom he associated.

        87.     Chairman Thompson’s subpoena of Verizon purports to identify Dr. Eastman’s

personal cell phone number and requests the data associated with it.

        88.     Dr. Eastman used his personal phone to engage in protected advocacy and other

speech, including privileged speech with clients and spouses.

        89.     Dr. Eastman also used his personal phone to engage in private conversations with

friends and family.

        90.     All of these associational and expressive activities are protected by the First

Amendment. See Buckley v. Valeo, 424 U.S. 1, 64 (1976); Black Panther Party v. Smith, 661 F.2d

1243, 1267 (D.C. Cir. 1981); Am. Fed’n of Lab. & Cong. of Indus. Organizations v. Fed. Election

Comm’n, 333 F.3d 168, 179 (D.C. Cir. 2003).

        91.     The J6 Committee has no legitimate legislative purpose for seeking the protected

information demanded by the subpoenas.

        92.     Even if the J6 Committee had a valid reason to seek protected information, the

Committee has put in place no safeguards to protect Dr. Eastman’s rights. It provided Dr. Eastman

with no notice of the subpoena and has provided him with no opportunity to assert claims of

privilege or other legal protections over the demanded information. It also has no provisions for a

taint team or analogous filter for privileged information. The entirety of the demanded information,

including that which is constitutionally or otherwise protected, will be turned over to the Committee

to do with as it pleases.

        93.     The Verizon subpoena is also a clear effort to chill the speech of the Committee

Member’s political adversaries.

        94.     The body that issued this subpoena is composed of 9 members, 7 of whom belong to


                                                 17
          Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 18 of 21



the political party that opposed the President Dr. Eastman was known to support, and the other two

of whom are well-known intra-party opponents of that President. .

        95.    Allowing an entirely partisan select committee of Congress to subpoena the personal

cell phone data of political opponents would work a massive chilling of the associational and free

speech rights of citizens.

        96.    The subpoena is therefore invalid and unenforceable, and should be quashed.

                                           COUNT IV
                                 Violation of Fourth Amendment

        97.    Dr. Eastman restates the foregoing paragraphs as if set forth fully herein.

        98.    Chairman Thompson’s subpoena to Verizon instructs Verizon to produce subscriber

information and cell phone data associated with a phone number attributed to Dr. Eastman.

        99.    The subscriber information requested includes subscriber names and contact

information, authorized users, time of service provided, account changes, associated IP addresses,

and other metadata.

        100.   The cell phone data requested includes all calls, text messages, and other records of

communications associated with that phone number.

        101.   Although ambiguous, the subpoena could be interpreted to call so called “cell site

information,” i.e., information about the physical location of towers with which a device was

communicating at a particular time.

        102.   The requested data covers three full months: November 1, 2020 through January 31,

2021.

        103.   Plaintiff has a reasonable expectation of privacy in his personal cell phone data.

        104.   The Fourth Amendment enumerates the right of private individuals to be free from

unreasonable search and seizure by the government into their persons, houses, papers, and effects.

It also protects a person’s reasonable privacy expectations. Katz v. United States, 389 U.S. 347, 351
                                                 18
            Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 19 of 21



(1967).

          105.   The fact that a third party at least temporarily stores a person’s cell phone data does

not alter his expectation or its reasonableness. Carpenter, 138 S. Ct. at 2217.

          106.   The Fourth Amendment restricts the ability of the Select Committee to issue

sweeping subpoenas untethered from any valid legislative purpose. See Oklahoma Press Pub. Co.

v. Walling, 327 U.S. 186, 196 (1946).

          107.   If the government, including the Select Committee, seeks to obtain documents or

data protected by the Fourth Amendment, it must be obtained by consent or otherwise authorized

by law. Plaintiff has not provided his consent for Verizon to produce his cell phone data to the J6

Committee. And for the reasons discussed above, Chairman Thompson’s subpoena is invalid.

          108.   A congressional subpoena must be reasonable. An all-encompassing subpoena for

personal, non-official documents falls outside the scope of Congress’ legitimate legislative power.

See Mazars, 140 S. Ct. at 2040 (2020).

          109.   Chairman Thompson’s subpoena to Verizon is so broad and indefinite as to exceed

the lawfully authorized purpose of the J6 Committee. See McPhaul v. United States, 364 U.S. 372,

381 (1960). The subpoena contains no limitations seeking to preserve applicable privileges or

prevent violations of constitutional rights.

          110.   For the J6 Committee to subpoena Verizon for all of Plaintiff’s personal cell phone

data over the course of three months is entirely unreasonable. Such a request is so broad both

temporally and with respect to the collected data, that the J6 Committee exceeds any lawfully

authorized purpose.

          111.   As the subpoena in question exceeds the lawfully authorized purpose of the J6

Committee, full compliance with such subpoenas would violate Plaintiffs’ Fourth Amendment

protection against unlawful search and seizure. The subpoenas are thus invalid and unenforceable


                                                    19
            Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 20 of 21



                                      PRAYER FOR RELIEF

       Plaintiffs requests that the Court:

       a.        Declare that the information sought by the subpoena at issue is in furtherance of

law enforcement rather than legislative purposes, and that the subpoena is therefore invalid and

unenforceable.

       b.        Declare that the J6 Committee is constituted in violation of House Rules, and that

any actions taken by the Committee are therefore ultra vires.

       c.        Declare that the information sought by the subpoena violates the First Amendment

rights to freedom of speech, association, assembly, and petition of Plaintiff and those with whom

he has been associating, and that the subpoena is therefore invalid and unenforceable.

       d.        Declare that the information sought by the subpoena violates the Fourth

Amendment right to be free from unreasonable searches and seizures, and that the subpoena is

therefore invalid and unenforceable.

       e.        Issue a temporary restraining order and/or preliminary injunction, followed by a

permanent injunction, enjoining the Defendants and the J6 Committee from enforcing its

subpoena;

       f.        Issue a temporary restraining order and/or preliminary injunction, followed by a

permanent injunction, enjoining Verizon from complying with Chairman Thompson’s subpoena;

       g.        Award to Plaintiff his reasonable costs and expenses, including attorneys’ fees;

       h.        Grant any other preliminary and permanent relief that the Court deems just, proper,

and equitable and to which Plaintiff is entitled.




                                                    20
        Case 1:21-cv-03273-CJN Document 1 Filed 12/14/21 Page 21 of 21




December 14, 2021                          Respectfully submitted,

                                           /s/ Charles Burnham
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                                      21
